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                                                Linda Myhre Enlow
                                               Thurston County Clerk




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